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 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, LYNN TRUONG
 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )                 CASE NO. 1:07-CR-316 LJO
                                 )
11        Plaintiff,             )
                                 )                 ORDER EXCUSING
12       v.                      )                 PERSONAL PRESENCE
                                 )                 OF DEFENDANT
13   LYNN TRUONG,                )
                                 )
14               Defendant.      )
     ____________________________)
15
              It is hereby ordered that defendant Lynn Truong be excused from personal
16
     presence at the hearing for status conference calendared for July 15, 2011.
17
              Ms. Truong is ordered to appear at all future hearing dates unless excused
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     by written order of this Court.
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     IT IS SO ORDERED.
23
     Dated:     July 12, 2011                 /s/ Lawrence J. O'Neill
24   b9ed48                               UNITED STATES DISTRICT JUDGE
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